      Case 23-90147 Document 1799-3 Filed in TXSB on 12/11/23 Page 1 of 2



                                      MASTER SERVICE LIST
                                     Mountain Express Oil Company
                                          Case No. 23-90147

          All service made by US first class mail, postage prepaid unless otherwise indicated

Debtor                                                 DIP Agent
Mountain Express Oil Company                           Shari Heyen
Turjo Wadud                                            John Elrod
c/o Johnnie J. Patterson, II                           Greenberg Traurig, LLP
Walker & Patterson, PC                                 Via ECF Shari.Heyen@gtlaw.com
4815 Dacoma Street                                     Via ECF ElrodJ@gtlaw.com
Houston, TX 77092
Via First Class U.S. Mail, postage prepaid             20 Largest Creditors
                                                       Sunoco
Debtor’s Representative                                3801 West Chester Pike
Neil Lansing, Designated Representative                Newton Square, PA 19073
2295 Haynes Trail                                      Via First Class U.S. Mail, postage prepaid
Johns Creek, GA 30022
Via First Class U.S. Mail, postage prepaid             Valero
                                                       One Valero Way
Chapter 7 Trustee                                      San Antonio, TX 78249
Janet S. Northrup                                      Via First Class U.S. Mail, postage prepaid
Chapter 7 Trustee
1201 Louisiana Street                                  COCA-COLA Bottling CO
28th Floor                                             PO Box 105637
Houston, TX 77002                                      Atlanta, GA 30348-5637
Via ECF jsnorthrup@hwa.com                             Via First Class U.S. Mail, postage prepaid

Office of the U.S. Trustee                             Marathon
Hector Duran Jr.                                       539 S. Main Street
Office of the United States Trustee                    Findlay, OH 45840
for the Southern District of Texas                     Via First Class U.S. Mail, postage prepaid
515 Rusk Street, Suite 3516
Houston, TX 77002                                      Cross Oil Refining & Marketing
Via ECF Hector.Duran.Jr.@usdoj.gov                     484 East 6th Street
                                                       Smackover, AR 71762
U.S. Attorney’s Office                                 Via First Class U.S. Mail, postage prepaid
United States Attorney’s Office
for the Southern District of Texas                     KeyBank Real Estate Capital
Wells Fargo Plaza                                      PO Box 145404
1000 Louisiana Street, Suite 2300                      Cincinnati, OH 45250
Houston, TX 77002                                      Via First Class U.S. Mail, postage prepaid




3104782
      Case 23-90147 Document 1799-3 Filed in TXSB on 12/11/23 Page 2 of 2



Exxon Mobil                                  Imperial Trading Company
PO Box 74007276                              701 Edwards Avenue
Chicago, IL 60674-7276                       Elmwood, LA 70123
Via First Class U.S. Mail, postage prepaid   Via First Class U.S. Mail, postage prepaid

VM Petro Inc.                                ARG 1 CBHGNJ001, LLC et al.
2188 Kirby Lane                              PO Box 71532
Syosset, NY 11791                            Cincinnati, OH 45271-5352
Via First Class U.S. Mail, postage prepaid   Via First Class U.S. Mail, postage prepaid

Pepsi Beverages                              Entergy
75 Remittance Drive, Suite 1884              PO Box 8108
Chicago, IL 60675                            Baton Rogue, LA 70891
Via First Class U.S. Mail, postage prepaid   Via First Class U.S. Mail, postage prepaid

Flying J-Saratoga-Pilot                      Anthem Blue Cross Blue Shield
5508 Lonas Drive                             PO Box 645438
Knoxville, TN 37909                          Cincinnati, OH 45264-5438
Via First Class U.S. Mail, postage prepaid   Via First Class U.S. Mail, postage prepaid

Shell                                        Southern Eagle Sales & Service LP
910 Louisiana Street                         5300 Blair Drive
Houston, TX 77002                            Metairie, LA 70003
Via First Class U.S. Mail, postage prepaid   Via First Class U.S. Mail, postage prepaid

Sinclair Distributor Services                Any party that has requested notice pursuant to
PO Box 30825                                 Bankruptcy Rule 2002 as of the time of service
Salt Lake City, UT 84130                     via ECF.
Via First Class U.S. Mail, postage prepaid

Federated Insurance
PO Box 486
Owatonna, MN 55060
Via First Class U.S. Mail, postage prepaid

JF Acquisition LLC
PO Box 531829
Atlanta, GA 30353-1829
Via First Class U.S. Mail, postage prepaid

DAS Distributors TC
724 Lawn Road
Palmyra, PA 17078
Via First Class U.S. Mail, postage prepaid




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